     Case 3:20-cv-04688-RS              Document 388            Filed 04/11/24         Page 1 of 3



1      BOIES SCHILLER FLEXNER LLP                                 SUSMAN GODFREY L.L.P.
       David Boies (admitted pro hac vice)                        Bill Carmody (admitted pro hac vice)
2      333 Main Street                                            Shawn J. Rabin (admitted pro hac vice)
       Armonk, NY 10504                                           Steven M. Shepard (admitted pro hac vice)
3
       Tel.: (914) 749-8200                                       Alexander Frawley (admitted pro hac vice)
4      dboies@bsfllp.com                                          Ryan Sila (admitted pro hac vice)
                                                                  One Manhattan West, 50th Floor
       Mark C. Mao, CA Bar No. 236165
5                                                                 New York, NY 10001
       Beko Reblitz-Richardson, CA Bar No. 238027
                                                                  Tel.: (212) 336-8330
6      44 Montgomery St., 41st Floor
                                                                  bcarmody@susmangodfrey.com
       San Francisco, CA 94104
7                                                                 srabin@susmangodfrey.com
       Tel.: (415) 293-6800
                                                                  sshepard@susmangodfrey.com
       mmao@bsfllp.com
8                                                                 afrawley@susmangodfrey.com
       brichardson@bsfllp.com
                                                                  rsila@susmangodfrey.com
9      James Lee (admitted pro hac vice)
                                                                  Amanda K. Bonn, CA Bar No. 270891
       Rossana Baeza (admitted pro hac vice)
10                                                                1900 Avenue of the Stars, Suite 1400
       100 SE 2nd St., 28th Floor
                                                                  Los Angeles, CA 90067
11     Miami, FL 33131
                                                                  Tel.: (310) 789-3100
       Tel.: (305) 539-8400
                                                                  abonn@susmangodfrey.com
12     jlee@bsfllp.com
       rbaeza@bsfllp.com                                          MORGAN & MORGAN
13                                                                John A. Yanchunis (admitted pro hac vice)
       Alison L. Anderson, CA Bar No. 275334
                                                                  Ryan J. McGee (admitted pro hac vice)
14     M. Logan Wright, CA Bar No. 349004
                                                                  Michael F. Ram, CA Bar No. 104805
       2029 Century Park East, Suite 1520
15                                                                201 N. Franklin Street, 7th Floor
       Los Angeles, CA 90067
                                                                  Tampa, FL 33602
       Tel.: (213) 995-5720
16                                                                Tel.: (813) 223-5505
       alanderson@bsfllp.com
                                                                  jyanchunis@forthepeople.com
17     mwright@bsfllp.com
                                                                  rmcgee@forthepeople.com
                                                                  mram@forthepeople.com
18

19                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
20
       ANIBAL RODRIGUEZ, SAL                                     Case No.: 3:20-cv-04688-RS
21     CATALDO, JULIAN
       SANTIAGO, and SUSAN LYNN                                  PLAINTIFFS’ SUBMISSION IN
22
       HARVEY, individually and on behalf of all                 RESPONSE TO THE COURT’S ORDER
23     others similarly situated,                                GRANTING IN PART MOTION TO
                                                                 “CLARIFY” CLASS DEFINITION AND
24                      Plaintiffs,                              GRANTING ADMINISTRATIVE
        vs.                                                      MOTION TO SEAL (DKT. 384)
25
        GOOGLE LLC,                                              The Honorable Richard Seeborg
26
                 Defendant.                                      Courtroom 3 – 17th Floor
27

28
      _____________________________________________________________________________________________________________________
                  PLAINTIFFS’ SUBMISSION RE: ORDER GRANTING MOTION TO SEAL (DKT. 384)
                                        CASE NO. 3:20-CV-04688-RS
     Case 3:20-cv-04688-RS              Document 388            Filed 04/11/24         Page 2 of 3


1             In compliance with the Court’s April 5, 2024 Order Granting in Part Motion to “Clarify”

2     Class Definition (Dkt. 384) at 11, Plaintiffs respectfully file on the public docket public versions

3     of Exhibits 1-5 and 9 to the March 22, 2024 Mao Declaration (Dkt. 378-1). Redacted versions of

4     Exhibits 6-8 have already been filed at Dkt. 382-2, Dkt. 382-3, and Dkt. 382-4.

5     Dated: April 11, 2024                                Respectfully submitted,

6                                                          By: /s/ Mark Mao
7
                                                           Mark C. Mao (CA Bar No. 236165)
8                                                          mmao@bsfllp.com
                                                           Beko Reblitz-Richardson (CA Bar No. 238027)
9                                                          brichardson@bsfllp.com
                                                           BOIES SCHILLER FLEXNER LLP
10                                                         44 Montgomery Street, 41st Floor
                                                           San Francisco, CA 94104
11                                                         Telephone: (415) 293 6858
                                                           Facsimile (415) 999 9695
12

13                                                         David Boies (admitted pro hac vice)
                                                           dboies@bsfllp.com
14                                                         BOIES SCHILLER FLEXNER LLP
                                                           333 Main Street
15                                                         Armonk, NY 10504
16                                                         Telephone: (914) 749-8200

17                                                         James Lee (admitted pro hac vice)
                                                           jlee@bsfllp.com
18                                                         Rossana Baeza (admitted pro hac vice)
                                                           rbaeza@bsfllp.com
19                                                         BOIES SCHILLER FLEXNER LLP
20                                                         100 SE 2nd Street, Suite 2800
                                                           Miami, FL 33131
21                                                         Telephone: (305) 539-8400
                                                           Facsimile: (305) 539-1307
22
                                                           Alison L. Anderson, CA Bar No. 275334
23                                                         alanderson@bsfllp.com
24                                                         M. Logan Wright, CA Bar No. 349004
                                                           mwright@bsfllp.com
25                                                         BOIES SCHILLER FLEXNER LLP
                                                           2029 Century Park East, Suite 1520
26                                                         Los Angeles, CA 90067
                                                           Telephone: (813) 482-4814
27
                                                           Bill Carmody (pro hac vice)
28
                                                           bcarmody@susmangodfrey.com

                                                               1
      _____________________________________________________________________________________________________________________
                  PLAINTIFFS’ SUBMISSION RE: ORDER GRANTING MOTION TO SEAL (DKT. 384)
                                        CASE NO. 3:20-CV-04688-RS
     Case 3:20-cv-04688-RS              Document 388            Filed 04/11/24         Page 3 of 3

                                                           Shawn J. Rabin (pro hac vice)
1                                                          srabin@susmangodfrey.com
2                                                          Steven Shepard (pro hac vice)
                                                           sshepard@susmangodfrey.com
3                                                          Alexander P. Frawley
                                                           afrawley@susmangodfrey.com
4                                                          Ryan Sila
                                                           rsila@susmangodfrey.com
5
                                                           SUSMAN GODFREY L.L.P.
6                                                          One Manhattan West, 50th Floor
                                                           New York, NY 10001
7                                                          Telephone: (212) 336-8330

8                                                          Amanda Bonn (CA Bar No. 270891)
                                                           abonn@susmangodfrey.com
9
                                                           SUSMAN GODFREY L.L.P.
10                                                         1900 Avenue of the Stars, Suite 1400
                                                           Los Angeles, CA 90067
11                                                         Telephone: (310) 789-3100
12                                                         John A. Yanchunis (pro hac vice)
                                                           jyanchunis@forthepeople.com
13
                                                           Ryan J. McGee (pro hac vice)
14                                                         rmcgee@forthepeople.com
                                                           Michael F. Ram (CA Bar No. 238027)
15                                                         mram@forthepeople.com
                                                           MORGAN & MORGAN, P.A.
16                                                         201 N Franklin Street, 7th Floor
17                                                         Tampa, FL 33602
                                                           Telephone: (813) 223-5505
18                                                         Facsimile: (813) 222-4736

19                                                         Attorneys for Plaintiffs
20

21

22

23

24

25

26

27

28


                                                               2
      _____________________________________________________________________________________________________________________
                  PLAINTIFFS’ SUBMISSION RE: ORDER GRANTING MOTION TO SEAL (DKT. 384)
                                        CASE NO. 3:20-CV-04688-RS
